        Case 1:25-cv-10685-WGY           Document 189         Filed 07/08/25      Page 1 of 4




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

  AMERICAN ASSOCIATIONS OF
  UNIVERSTIY PROFESSORS, ET AL.,

                                           Plaintiffs,    No. 1:25-cv-10685-WGY
  v.
                                                         NOTICE OF MANUAL
  MARCO RUBIO, in his official capacity as               FILING, IN CAMERA AND
  Secretary of State, and the DEPARTMENT OF              EX PARTE
  STATE, ET AL.,

                                        Defendants.


               DEFENDANTS’ OBJECTIONS TO DISCLOSURE OF,
              AND ASSERTIONS OF PRIVILEGE OVER, SUBSET OF
       IN CAMERA DOCUMENTS IDENTIFIED BY THE COURT ON JULY 8, 2025

       In accordance with the Court’s instructions from the bench on July 8, 2025, that

Defendants raise any objections to the disclosure of certain in camera documents prosed by the

Court before 10:45am on July 9, 2025, Defendants hereby submit the enclosed privilege log

(partially redacted for privilege in the public filing). Additionally, Defendants will submit, in

camera and ex parte, an unredacted version of the privilege log, along with a copy of the

documents proposed by the Court for disclosure to Plaintiffs on July 9, bearing transparent

redaction boxes over information that the Government has identified as privileged.




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       Case 1:25-cv-10685-WGY        Document 189   Filed 07/08/25     Page 2 of 4



Respectfully Submitted,

 BRETT A. SHUMATE
 Assistant Attorney General                WILLIAM KANELLIS

 DREW C. ENSIGN                            Ethan B. Kanter
 Deputy Assistant Attorney General         ETHAN B. KANTER
                                           Chief, National Security Unit
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                                           P.O. Box 878, Ben Franklin Station
                                           Washington, D.C. 20001




 Dated: July 8, 2025                       Counsel for Defendants




                                           2
                                                                       Case 1:25-cv-10685-WGY                           Document 189 Filed 07/08/25
                                                                                    Defendants' Privilege Log for Subset of In Camera Documents Identified by the Court on July 8, 2025
                                                                                                                                                                                                                                                    Page 3 of 4


Beg. Bates Number En. Bates Number   Custodian      Document Title    Document Date            From                                 To                                     Email CC                         Email/Memo Subject            Privilege Designation         Privilege Description                      Filing Status



                                                                                                                                                                                                                                                                                                                   Filed with June 11, 2025 In Camera
                                                                                                                                                                                                                                                                                                                   Submission as law enforcement
                                                                                                                                                                                                                                                                                                                   sensitive, with protective order not yet
                                                                                                                                                                                                                                                                                                                   entered, and regarded as outside the
                                                                                                                                                                                                                                                                                                                   scope of this case as an unresolved
                                                                                                                                                                                                                                                                                                                   issue in the subject’s case (a point
                                                                                                                                                                                                                                                                                                                   since clarified), and has not been
                                                                                                                                                                                                                                                                                                                   disclosed publicly, but Defendants
                                                                                                                                                                                                                                                                                                                   would be willing to share it subject to
           00001             00002                                    03/07/2025               Watson, Andre                        Whiting, Andrea Toll                                                                                  none                          none                                       an Attorneys Eyes Only restriction.

                                                                                                                                                                                                                                                                      LEP, PII - Contains names and contact
                                                                                                                                                                                                                                                                      information of non-public facing
                                                                                                                                         LE/PII                                                                                                                       Homeland Security Investigations law
                                                                                                                                                                 Walker,                                                                                              enforcement personnel which, if
                                                                                                 LE/PII                             William S                                                               Re: Draft                     Law Enforcement, Personally disclosed, could compromise the safety       Filed with July 2, 2025 In Camera
           00003             00003 William Walker                     03/09/2025 05:56:44 PM                     @hsi.dhs.gov]      [William.S.Walker@hsi.dhs.gov]                                          Statement/Response            Identifiable Information    of such individuals                          Submission

                                                                                                                                                                                                                                                                      LEP, PII - Contains names and contact
                                                                                                                                                                                                                                                                      information of non-public facing
                                                                                                                                         LE/PII                                                                                                                       Homeland Security Investigations law
                                                                                                                                                                 Walker,                                                                                              enforcement personnel which, if
                                                                                                  LE/PII                            William S                                                               RE: Draft                     Law Enforcement, Personally disclosed, could compromise the safety       Filed with July 2, 2025 In Camera
           00004             00004 William Walker                     03/09/2025 06:48:29 PM                                        [William.S.Walker@hsi.dhs.gov]                                          Statement/Response            Identifiable Information    of such individuals                          Submission




                                                                                                                                                                                                                                                                      LEP, PII - Contains names and contact
                                                                                                                                                                                                                                                                      information of non-public facing
                                                                                                                                                                                                                                                                      Homeland Security Investigations law
                                                                                                                                                                                                                                                                      enforcement personnel which, if
                                                                                                                                                                                                                                                                      disclosed, could compromise the safety
                                                                                                                                                                                                                                                                      of such individuals; ACP/AW: consists of
                                                                                                                                                                                                                                                                      correspondence between attorneys for
                                                                                                                                                                                                                                                                      ICE's Office of the Principal Legal Advisor
                                                                                                                                                                                                                                                                      (OPLA) and employees of ICE Homeland
                                                                                                                                                                                                                                                                      Security Investigations (HSI) and
                                                                                                                                                                                                                                                                      Enforcement and Removal Operations
                                                                                                                                                                                                                                                                      (ERO) about questions surrounding the
                                                                                                                                                                                                                                                                      applicability of a particular removabilty
                                                                                                                                                                                                                                                                      charge under the Immigration and
                                                                                                                                                                                                                                                                      Nationality Act; updates from ERO to
                                                                                                                                                                                                                                                                      OPLA attorneys regarding issues with
                                                                                                                                                                               LE/PII                                                                                 arresting a person of interest; ERO
                                                                                                                                                                                           @ice.dhs.gov];                                                             employee discussing the use of law
                                                                                                                                                                               LE/PII                                                                                 enforcement systems and databases to
                                                                                                                                                                                           @ice.dhs.gov];                                                             conduct investigations with OPLA
                                                                                                                                                                              LE/PII                                                      Law Enforcement, Personally attorneys; and conversations between
                                                                                                                                              LE/PII                                    @ice.dhs.gov];                                    Identifiable Information,   OPLA attorneys discussing HSI
                                                                                                   LE/PII                                                      @ice.dhs.      LE/PII                                                      Attorney-Client Privilege,  investigation results and issues            Filed with July 2, 2025 In Camera
           00005             00010      LE/PII                        03/23/2025 07:35:37 PM                        @ice.dhs.gov]   gov]                                                @ice.dhs.gov]       FW: Signed memo               Attorney Work Product       surrounding that person of interest.        Submission

                                                                                                                                                                                                                                                                        DP: contains candid, internal               Filed with June 11, 2025 In Camera
                                                                                                                                                                                                                                                                        deliberations assessing pre-decisional      Submission, withheld from Plaintiffs in
                                                                                                                                                                                                            Removal of [specific                                        recommendations on enforcement              full; Privilege declaration filed in
                                                                                                                                                                                                            individual LPRs], under                                     actions regarding a specific non-citizen    support of opposition to Plaintiffs'
                                                                                                                                                                                                            Section 237(a)(4)(C) of the   Deliberative Process,         (see Armstrong Declaration at Dkt. # 170- motion to compel and upheld on June
                                                    Action Memo for                                                                                                                                         Immigration and Nationality   Personally Identifiable       8); PII: DOB of non-party individuals on p. 30, 2025 when the Court denied the
           00011             00015                  the Secretary     3/8/2025                 Armstrong, John                      U.S. Secretary of State                                                 Act                           Information                   00011                                       motion to compel (Dkt. # 174)

                                                                                                                                                                                                                                                                        DP: contains candid, internal              Filed with June 11, 2025 In Camera
                                                                                                                                                                                                                                                                        deliberations assessing pre-decisional     Submission, withheld from Plaintiffs in
                                                                                                                                                                                                                                                                        recommendations on enforcement             full; Privilege declaration filed in
                                                    Action Memo for                                                                                                                                                                                                     actions regarding a specific non-citizen   support of opposition to Plaintiffs'
                                                    Senior Bureau                                                                                                                                                                         Deliberative Process,         (see Armstrong Declaration at Dkt. # 170- motion to compel and upheld on June
                                                    Official John                                                                                                                                           (SBU) Revocation of F1 Visa   Personally Identifiable       8); PII: DOB of non-party individual on p. 30, 2025 when the Court denied the
           00016             00019                  Armstrong         3/21/2025                Wilson, Stuart                       Armstrong, John                                                         for Rumeysa OZTURK            Information                   00016                                      motion to compel (Dkt. # 174)
        Case 1:25-cv-10685-WGY            Document 189         Filed 07/08/25      Page 4 of 4



                                   CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing.



Date: July 8, 2025                                            By: Ethan B. Kanter
                                                              ETHAN B. KANTER
                                                              Chief, National Security Unit
                                                              Office of Immigration Litigation
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                                                   3
